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  9              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 10
 11   LUCAS R., by his next friend MADELYN     Case No. 2:18-cv-05741
      R.; DANIELA MARISOL T., by her next
 12   friend KATHERINE L.; MIGUEL ANGEL        PLAINTIFF’S EXHIBITS IN SUPPORT OF
      S., by his next friend GERARDO S.;       MOTION FOR PRELIMINARY
 13   GABRIELA N., by her next friend ISAAC    INJUNCTION RE: PLAINTIFF GABRIELA
      N.; JAIME D., by his next friend REYNA   N.
 14   D.; SAN FERNANDO VALLEY REFUGEE
      CHILDREN CENTER, INC.;                   [EXHIBITS 1-34]
 15   UNACCOMPANIED CENTRAL AMERICAN
      REFUGEE EMPOWERMENT,
 16
                      Plaintiffs,
 17
            v.
 18
      ALEX AZAR, Secretary of U.S.
 19   Department of Health and Human
      Services; E. SCOTT LLOYD, Director,
 20   Office of Refugee Resettlement of the
      U.S. Department of Health & Human
 21   Services,
 22                   Defendants.
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                                                                           EXHIBIT LIST
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  1         I, Leecia Welch, do hereby declare that true and correct copies of the following
  2   documents are attached hereto:
  3                                               INDEX TO EXHIBITS
  4   No.    Description                                                                                    Page(s)
  5
      1     Stipulated Settlement Agreement, Flores v. Reno, Case No. CV
  6         85-4544, Jan. 13, 1997 ............................................................................ 1-47
  7   2     Declaration of Gabriela N., December 1, 2017 (proposed to be
  8         filed partially under seal) ....................................................................... 48-51
  9   3     Declaration of Gabriela N., June 8, 2018 (proposed to be filed
 10         partially under seal) ............................................................................... 52-56

 11   4     Declaration of Gabriela N., July 12, 2018 (proposed to be filed
            partially under seal) ............................................................................... 57-60
 12
 13   5     Declaration of Isaac N., June 7, 2018 (proposed to be filed
            partially under seal) ............................................................................... 61-64
 14
      6     Declaration of Luis H. Zayas, December 10, 2014 ............................. 65-108
 15
 16   7     Declaration of Isaac N., March 15, 2018 (proposed to be filed
            partially under seal) ........................................................................... 109-114
 17
      8     Casita del Valle Initial Intakes Assessment, January 8, 2017
 18         (proposed to be filed partially under seal), an excerpt from
 19         Gabriela N.’s files produced by the Office of Refugee
            Resettlement (ORR) to Plaintiffs’ counsel ........................................ 115-118
 20
 21   9     Casita del Valle Response Report, January 9, 2017 (proposed to
            be filed partially under seal), an excerpt from Gabriela N.’s files
 22         produced by ORR to Plaintiffs’ counsel............................................ 119-120
 23
      10    Casita del Valle Response Report, April 4, 2017 (proposed to be
 24         filed partially under seal), an excerpt from Gabriela N.’s files
            produced by ORR to Plaintiffs’ counsel............................................ 121-122
 25
 26   11    ORR Care Provider Family Reunification Checklist, April 13,
            2017 (proposed to be filed partially under seal), an excerpt from
 27         Gabriela N.’s files produced by ORR to Plaintiffs’ counsel ............. 123-125
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  1   12    Casita del Valle Response Report, May 16, 2017 (proposed to be
  2         filed partially under seal), an excerpt from Gabriela N.’s files
            produced by ORR to Plaintiffs’ counsel............................................ 126-127
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      13    Casita del Valle Response Report, June 21, 2017 (proposed to be
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            filed partially under seal), an excerpt from Gabriela N.’s files
  5         produced by ORR to Plaintiffs’ counsel............................................ 128-129
  6   14    Casita del Valle Response Report, July 18, 2017 (proposed to be
  7         filed partially under seal), an excerpt from Gabriela N.’s files
            produced by ORR to Plaintiffs’ counsel............................................ 130-131
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      15    Casita del Valle Response Report, July 20, 2017 (proposed to be
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            filed partially under seal), an excerpt from Gabriela N.’s files
 10         produced by ORR to Plaintiffs’ counsel ........................................... 132-133
 11   16    Casita del Valle Response Report, July 26, 2017 (proposed to be
 12         filed partially under seal), an excerpt from Gabriela N.’s files
            produced by ORR to Plaintiffs’ counsel ........................................... 134-135
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      17    Casita del Valle Response Report, August 11, 2017 (proposed to
 14
            be filed partially under seal), an excerpt from Gabriela N.’s files
 15         produced by ORR to Plaintiffs’ counsel............................................ 136-137
 16   18    El Paso Behavioral Health System Continuing Care Discharge
 17         Plan/Transition Record, August 14, 2017 (proposed to be filed
            partially under seal), an excerpt from Gabriela N.’s files produced
 18         by ORR to Plaintiffs’ counsel ........................................................... 138-144
 19
      19    Casita del Valle Response Report, August 24, 2017 (proposed to
 20         be filed partially under seal), an excerpt from Gabriela N.’s files
 21         produced by ORR to Plaintiffs’ counsel............................................ 145-146

 22   20   Casita del Valle Transfer Request, August 30, 2017 (proposed to
           be filed partially under seal), an excerpt from Gabriela N.’s files
 23        produced by ORR to Plaintiffs’ counsel............................................ 147-150
 24
      21   Casita del Valle Case Review, September 4, 2017 (proposed to be
 25        filed partially under seal), an excerpt from Gabriela N.’s files
 26        produced by ORR to Plaintiffs’ counsel............................................ 151-164

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  1   22    Shiloh Admission Assessment, September 7, 2017 (proposed to be
  2         filed partially under seal), an excerpt from Gabriela N.’s files
            produced by ORR to Plaintiffs’ counsel............................................ 165-173
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      23    Shiloh Service Plan Review, November 2, 2017 (proposed to be
  4
            filed partially under seal), an excerpt from Gabriela N.’s files
  5         produced by ORR to Plaintiffs’ counsel............................................ 174-183
  6   24    Exoneration Letter for Isaac N., November 9, 2017 (proposed to
  7         be filed partially under seal) .............................................................. 184-187

  8   25    Shiloh Service Plan Review, November 30, 2017 (proposed to be
            filed partially under seal), an excerpt from Gabriela N.’s files
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            produced by ORR to Plaintiffs’ counsel............................................ 188-197
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      26    Shiloh Service Plan Review, December 28, 2017 (proposed to be
 11         filed partially under seal), an excerpt from Gabriela N.’s files
 12         produced by ORR to Plaintiffs’ counsel............................................ 198-207
 13   27    Shiloh Service Plan Review, January 25, 2018 (proposed to be
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      28   ORR Home Study Report of Isaac N., February 15, 2018
 16        (proposed to be filed completely under seal), an excerpt from
 17        Gabriela N.’s files produced by ORR to Plaintiffs’ counsel ............. 217-242
 18   29   Shiloh Service Plan Review, March 22, 2018 (proposed to be filed
 19        partially under seal), an excerpt from Gabriela N.’s files produced
           by ORR to Plaintiffs’ counsel ........................................................... 243-251
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      30   Sponsor Designation Letter for Isaac N., April 4, 2018 (proposed
 21        to be filed partially under seal) .......................................................... 252-258
 22
      31   Shiloh Transfer Request, April 20, 2018 (proposed to be filed
 23        partially under seal), an excerpt from Gabriela N.’s files produced
 24        by ORR to Plaintiffs’ counsel ........................................................... 259-262

 25   32   Home Study Report of Isaac N. by Candida Rugama, August 9,
           2018 (proposed to be filed completely under seal) ........................... 263-274
 26
 27   33   Declaration of Candida Rugama, August 9, 2018 (proposed to be
           filed partially under seal) ................................................................... 275-281
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  1   34    Psychiatric Evaluation and Report by Dr. Amy Cohen, August 16,
  2         2018 (proposed to be filed completely under seal) ........................... 282-326

  3         I declare under penalty of perjury that the foregoing is true and correct.
  4   Executed on this 17th day of August, 2018, at Oakland, California.
  5
  6                                              Respectfully submitted,
  7
                                                 /s/ Leecia Welch
  8                                              Leecia Welch
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